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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


ESTELLA WALKER, RAY ROBINSON,            )
RAY ROBINSON, JR., GEORGE GRAHAM,        )                  Case No. 2012 CV 1422
AND CORNELIUS BURNS,                     )
                                         )                  JUDGE LEFKOW
                         Plaintiffs,     )
                                         )                  Magistrate Judge Rowland
               vs.                       )
                                         )
THE CITY OF CHICAGO, OFFICERS SERGIO )
MARTINEZ, Star No. 19512, DAVID GUZMAN, )
Star No. 12877, WILLIAM MURPHY, Star No. )
6066, DANIEL O’TOOLE, Star No. 15346,    )
MARK GUTKOWSKI, Star No. 16228, SCOTT )
McKENNA, Star No. 3942, TAMARA           )
MATTHEWS, Star No. 4640, TIMOTHY         )
SCHUMPP, Star No. 9207, LAWRENCE STEC, )
Star No. 1980,                           )
                                         )
                         Defendants.     )

                    PARTIES’ AGREED CONFIDENTIALITY ORDER

       The parties to this Agreed Confidentiality Order, Plaintiffs Estella Walker, Ray

Robinson, Ray Robinson Jr., George Graham and Cornelius Burns, by and through attorneys,

John T. Moran and Matthew T. Layman, Defendants City of Chicago, by and through its

attorney Stephen R. Patton, Corporation Counsel for the City of Chicago, and Defendant Officers

Sergio Martinez, David Guzman, William Murphy, Daniel O’Toole, Mark Gutkowski, Scott

McKenna, Tamara Matthews, Timothy Schumpp, and Lawrence Stec, by and through one of

their attorneys Kathleen D. Crawford, Assistant Corporation Counsel, have agreed to the terms

of this Order; accordingly, it is ORDERED:

       1. Scope. All materials produced or adduced in the course of discovery, including, initial

disclosures, responses to discovery requests, deposition testimony and exhibits, and information
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derived directly therefrom (hereinafter collectively "documents"), shall be subject to this Order

concerning Confidential Information as defined below. This Order is subject to the Local Rules

of this District and the Federal Rules of Civil Procedure on matters of procedure and calculation

of time periods.

       2. Confidential Information. As used in this Order, "Confidential Information" means

information designated as “CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER” by the

producing party that falls within one or more of the following categories: (a) information

protected from disclosure by statute, including the Illinois Freedom of Information Act (FOIA),

5 ILCS 140/1, et seq; (b) information that reveals trade secrets; (c) research, technical,

commercial or financial information that the party has maintained as confidential; (d) medical

information concerning any individual; (e) personal identity information; (f) income tax returns

(including attached schedules and forms), W-2 forms and 1099 forms; (g) personnel or

employment records of a person who is not a party to this case; or (h) employment, disciplinary,

financial, medical or other information that is of a sensitive or non-public nature regarding

plaintiff, defendants, non-party witnesses, and non-party employees of the City of Chicago.

Such information includes, but is not limited to, private information in personnel files, such as

employment applications, performance evaluations, tax forms, requests for medical leave and the

like; records relating to a public body’s adjudication of employee grievances or disciplinary

cases (generally referred to as “Complaint Register” files), and related information protected

from disclosure by the Illinois Personnel Records Review Act, 820 ILCS 40/0.01 et seq. (West

2004), consistent with the Illinois Freedom of Information Act, 5 ILCS 140/1 et seq. (West

2010), as amended, as well as personal and family information of police officers, including

residential information.

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       The “final outcome of cases in which discipline is imposed,” i.e. final outcome of

disciplinary actions generated by the investigation of complaints of misconduct by Chicago

police officers (generally referred to as “Complaint Register” files) where discipline has been

imposed is not considered “Confidential Information”, but shall be released only in the manner

consistent with the Illinois Freedom of Information Act, 5 ILCS 140/7, et seq., as described

below, after thirty (30) days’ notice to the producing party to ensure that proper redactions are

made prior to release. If agreement cannot be found as to those proper redactions, the Court,

upon motion and an in camera review, shall make the final determination. In such cases, the

“final outcome” information derived from such City of Chicago Police Department Complaint

Register File(s) shall be released consistent with the Illinois Freedom of Information Act, 5 ILCS

140/1 et seq. (West 2010), as amended, including the following redactions: (i) All complainant,

witness and third-party identifying information; and (ii) All private and personal information

regarding defendant officers, CPD employees and their families, plaintiffs, witnesses or other

non-parties, including, but not limited to, social security numbers, home addresses, telephone

numbers, medical and financial information, driver’s license and employee numbers. Information

or documents that are available to the public may not be designated as Confidential Information.

       3. Designation.

       (a) A party may designate a document as Confidential Information for protection under

this Order by placing or affixing the words "CONFIDENTIAL - SUBJECT TO PROTECTIVE

ORDER" on the document and on all copies in a manner that will not interfere with the legibility

of the document. As used in this Order, "copies" includes electronic images, duplicates, extracts,

summaries or descriptions that contain the Confidential Information. The marking

"CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER" shall be applied prior to or at the

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time of the documents are produced or disclosed. Applying the marking "CONFIDENTIAL-

SUBJECT TO PROTECTIVE ORDER" to a document does not mean that the document has any

status or protection by statute or otherwise except to the extent and for the purposes of this

Order. Any copies that are made of any documents marked "CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER" shall also be so marked, except that indices, electronic databases or

lists of documents that do not contain substantial portions or images of the text of marked

documents and do not otherwise disclose the substance of the Confidential Information are not

required to be marked.

       (b) The designation of a document as Confidential Information is a certification by an

attorney or a party appearing pro se that the document contains Confidential Information as

defined in this order.

       4. Depositions.

       Alternative A. Deposition testimony is protected by this Order only if designated as

"CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER" on the record at the time the

testimony is taken. Such designation shall be specific as to the portions that contain Confidential

Information. Deposition testimony so designated shall be treated as Confidential Information

protected by this Order until fourteen days after delivery of the transcript by the court reporter to

any party or the witness. Within fourteen days after delivery of the transcript, a designating party

may serve a Notice of Designation to all parties of record identifying the specific portions of the

transcript that are designated Confidential Information, and thereafter those portions identified in

the Notice of Designation shall be protected under the terms of this Order. The failure to serve a

timely Notice of Designation waives any designation of deposition testimony as Confidential



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Information that was made on the record of the deposition, unless otherwise ordered by the

Court.

Alternative B. Unless all parties agree on the record at the time the deposition testimony is

taken, all deposition testimony taken in this case shall be treated as Confidential Information

until the expiration of the following: No later than the fourteenth day after the transcript is

delivered to any party or the witness, and in no event later than 60 days after the testimony was

given, Within this time period, a party may serve a Notice of Designation to all parties of record

as to specific portions of the testimony that are designated Confidential Information, and

thereafter only those portions identified in the Notice of Designation shall be protected the terms

of this Order. The failure to serve a timely Notice of Designation shall waive any designation of

testimony taken in that deposition as Confidential Information, unless otherwise ordered by the

Court.

         5. Protection of Confidential Material.

         (a) General Protections. Confidential Information shall not be used or disclosed by the

         parties, counsel for the parties or any other persons identified in subparagraph (b) for any

         purpose whatsoever other than in this litigation, including any appeal thereof.

         (b) Limited Third-Party Disclosures. The parties and counsel for the parties shall not

         disclose or permit the disclosure of any Confidential Information to any third person or

         entity except as set-forth in subparagraphs (1)-(9). Subject to these requirements, the

         following categories of persons may be allowed to review Confidential Information:

                (1) Counsel. Counsel for the parties and employees of counsel who have

                responsibility for the preparation and trial of the action;



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          (2) Parties. Individual parties and employees of a party but only to the extent

          counsel determines in good faith that the employee's assistance is reasonably

          necessary to the conduct of the litigation in which the information is disclosed;

          (3) The Court and its personnel;

          (4) Court Reporters and Recorders. Court reporters and recorders engaged for

          depositions;

          (5) Contractors. Those persons specifically engaged for the limited purpose of

          making copies of documents or organizing or processing documents, including

          outside vendors hired to process electronically stored documents;

          (6) Consultants and Experts. Consultants, investigators, or experts employed by

          the parties or counsel for the parties to assist in the preparation and trial of this

          action but only after such persons have completed the certification contained in

          Attachment A, Acknowledgment of Understanding and Agreement to Be Bound;

          and

          (7) Witnesses at depositions. During their depositions, witnesses in this action to

          whom disclosure is reasonably necessary. Witnesses shall not retain a copy of

          documents containing Confidential Information, except witnesses may receive a

          copy of all exhibits marked at their depositions in connection with review of the

          transcripts. Pages of transcribed deposition testimony or exhibits to depositions

          that are designated as Confidential Information pursuant to the process set out in

          this Order must be separately bound by the court reporter and may not be

          disclosed to anyone except as permitted under this Order.



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               (8) Author or recipient. The author or recipient of the document (not including

               the person who received the document in the course of the litigation); and

               (9) Others by Consent. Other persons only by written consent of the producing

               party or upon order of the Court and on such conditions as may be agreed or

               ordered.

       (c) Control of Documents. Counsel for the parties shall make reasonable efforts to

       prevent unauthorized or inadvertent disclosure of Confidential Information. Counsel shall

       maintain the originals of the forms signed by persons acknowledging their obligations

       under this Order for a period of three years after the termination of the case.

       6. Inadvertent Failure to Designate. An inadvertent failure to designate a document as

Confidential Information does not, standing alone, waive the right to so designate the document;

provided, however, that a failure to serve a timely Notice of Designation of deposition testimony

as required by this Order, even if inadvertent, waives any protection for deposition testimony. If

a party designates a document as Confidential Information after it was initially produced, the

receiving party, on notification of the designation, must make a reasonable effort to assure that

the document is treated in accordance with the provisions of this Order. No party shall be found

to have violated this Order for failing to maintain the confidentiality of material during a time

when that material has not been designated Confidential Information, even where the failure to

so designate was inadvertent and where the material is subsequently designated Confidential

Information.

       7. Filing of Confidential Information. This Order does not, by itself, authorize the filing

of any document under seal. Any party wishing to file a document designated as Confidential



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Information in connection with a motion, brief or other submission to the Court must comply

with Local Rule 26.2.

       8. No Greater Protection of Specific Documents. Except on privilege grounds not

addressed by this Order, no party may withhold information from discovery on the ground that it

requires protection greater than that afforded by this Order unless the party moves for an order

providing such special protection.

       9. Challenges by a Party to Designation as Confidential Information. The designation

of any material or document as Confidential Information is subject to challenge by any party.

The following procedure shall apply to any such challenge.

       (a) Meet and Confer. A party challenging the designation of Confidential Information

       must do so in good faith and must begin the process by conferring directly with counsel

       for the designating party. In conferring, the challenging party must explain the basis for

       its belief that the confidentiality designation was not proper and must give the

       designating party an opportunity to review the designated material, to reconsider the

       designation, and, if no change in designation is offered, to explain the basis for the

       designation. The designating party must respond to the challenge within five (5) business

       days.

       (b) Judicial Intervention. A party that elects to challenge a confidentiality designation

       may file and serve a motion that identifies the challenged material and sets forth in detail

       the basis for the challenge. Each such motion must be accompanied by a competent

       declaration that affirms that the movant has complied with the meet and confer

       requirements of this procedure. The burden of persuasion in any such challenge

       proceeding shall be on the designating party. Until the Court rules on the challenge, all

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       parties shall continue to treat the materials as Confidential Information under the terms of

       this Order.

       10. Action by the Court. Applications to the Court for an order relating to materials or

documents designated Confidential Information shall be by motion. Nothing in this Order or any

action or agreement of a party under this Order limits the Court’s power to make orders

concerning the disclosure of documents produced in discovery or at trial.

       11. Use of Confidential Documents or Information at Trial. Nothing in this Order

shall be construed to affect the admissibility of any document, material, or information at any

trial or hearing. A party that intends to present or which anticipates that another party may

present Confidential information at a hearing or trial shall bring that issue to the Court's and

parties' attention by motion or in a pretrial memorandum without disclosing the Confidential

Information. The Court may thereafter make such orders as are necessary to govern the use of

such documents or information at trial.

       12. Confidential Information Subpoenaed or Ordered Produced in Other

Litigation.

       (a) If a receiving party is served with a subpoena or an order issued in other litigation

that would compel disclosure of any material or document designated in this action as

Confidential Information, the receiving party must so notify the designating party, in writing,

immediately and in no event more than three court days after receiving the subpoena or order.

Such notification must include a copy of the subpoena or court order.

       (b) The receiving party also must immediately inform in writing the party who caused the

subpoena or order to issue in the other litigation that some or all of the material covered by the



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subpoena or order is the subject of this Order. In addition, the receiving party must deliver a

copy of this Order promptly to the party in the other action that caused the subpoena to issue.

       (c) The purpose of imposing these duties is to alert the interested persons to the existence

of this Order and to afford the designating party in this case an opportunity to try to protect its

Confidential Information in the court from which the subpoena or order issued. The designating

party shall bear the burden and the expense of seeking protection in that court of its Confidential

Information, and nothing in these provisions should be construed as authorizing a receiving party

in this action to disobey a lawful directive from another court. The obligations set forth in this

paragraph remain in effect while the party has in its possession, custody or control Confidential

Information by the other party to this case.

       13. Challenges by Members of the Public to Sealing Orders. A party or interested

member of the public has a right to challenge the sealing of particular documents that have been

filed under seal, and the party asserting confidentiality will have the burden of demonstrating the

propriety of filing under seal.

       14. Obligations on Conclusion of Litigation.

       (a) Unless otherwise agreed or ordered, this Order shall remain in force after dismissal or

       entry of final judgment not subject to further appeal.

       (b) Within thirty days after dismissal or entry of final judgment not subject to further

       appeal, all Confidential Information and documents marked "CONFIDENTIAL -

       SUBJECT TO PROTECTIVE ORDER" under this Order, including copies as defined in

       ¶3(a), shall be returned to the producing party unless: (1) the document has been offered

       into evidence or filed without restriction as to disclosure; (2) the parties agree to

       destruction in lieu of return; or (3) as to documents bearing the notations, summations, or

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        other mental impressions of the receiving party, that party elects to destroy the documents

        and certifies to the producing party that it has done so. Notwithstanding the above

        requirements to return or destroy documents, counsel may retain attorney work product,

        including an index which refers or relates to designated Confidential Information so long

        as that work product does not duplicate verbatim Substantial portions of Confidential

        Information, and one complete set of all documents filed with the Court including those

        filed under seal. Any retained Confidential Information shall continue to be protected

        under this Order. An attorney may use his or her work product in subsequent litigation

        provided that its use does not disclose or use Confidential Information.

        (c) Deletion of Documents Filed under Seal from ECF System. Filings under seal shall

        be deleted from the ECF system only upon order of the Court.

        15. Order Subject to Modification. This Order shall be subject to modification by the

Court on its own initiative or on motion of a party or any other person with standing concerning

the subject matter.

        16. No Prior Judicial Determination. This Order is entered based on the representations

and agreements of the parties and for the purpose of facilitating discovery. Nothing herein shall

be construed or presented as a judicial determination that any document or material designated

Confidential Information by counselor the parties is entitled to protection under Rule 26(c) of the

Federal Rules of Civil Procedure or otherwise until such time as the Court may rule on a specific

document or issue.

        17. Persons Bound. This Order shall take effect when entered and shall be binding upon

all counsel of record and their law firms, the parties, and persons made subject to this Order by

its terms.

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       So Ordered.

       Dated:                         ________________________________
                                      JUDGE JOAN H. LEFKOW
                                      United States District Court Judge




WE SO MOVE                                   WE SO MOVE
and agree to abide by the                    and agree to abide by the
terms of this Order                          terms of this Order

/s/ Matthew T. Layman                        /s/ Kathleen D. Crawford
Signature                                    Signature

Matthew T. Layman                            Kathleen D. Crawford
Printed Name                                 Printed Name

Counsel for: Plaintiffs                      Counsel for: Defendants

Dated: October 25, 2012                      Dated: October 22, 2012




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